      Case 1:19-cv-03429-LGS-GWG Document 55 Filed 02/05/20 Page 1 of 2



UNITED STATES DISTRICT COURT                                             '.}   ., .. ,
                                                                         f;    !)
SOUTHERN DISTRICT OF NEW YORK                                            ';

---------------------------------------------------------------X
JOSE RAMIREZ,

                                                                   ORDER
                          Plaintiff,                               19 Civ. 3429 (LGS) (GWG)

        -v.-


M.L. SAN JOSE ENTERPRISES, CORP., et al.,


                          Defendants.
---------------------------------------------------------------X
GABRIEL W. GORENSTEIN, United States Magistrate Judge

         1. The above-referenced action has been referred to the undersigned for general pre-trial
purposes. See 28 U.S.C. § 636(b)(l)(A). All pre-trial applications, including those relating to
scheduling and discovery, shall be made to the undersigned (except motions to dismiss or for
judgment on the pleadings, for injunctive relief, for summary judgment, or for class
certification). All applications must comply with this Court's Individual Practices, which are
available through the Clerk's Office or at: https://nysd.uscourts.gov/hon-gabriel-w-gorenstein

       2. All discovery (as well as requests for admissions) must be initiated in time to be
concluded by the deadline for all discovery.

        3. Discovery motions -- that is, any application pursuant to Rules 26 through 37 or 45 --
not only must comply with ,i 2.A. of the Court's Individual Practices but also must be made
promptly after the cause for such a motion arises. In addition, absent extraordinary
circumstances no such application will be considered if made later than 30 days prior to the close
of discovery. Untimely applications will be denied.

        4. Any application for an extension of the time limitations with respect to any deadlines
in this matter must be made as soon as the cause for the extension becomes known to the party
making the application and must be made in accordance with ,i l.E of the Court's Individual
Practices. The application must state the position of all other parties on the proposed extension
and must show good cause therefor not foreseeable as of the date ofthis Order. "Good cause" as
used in this paragraph does not include circumstances within the control of counsel or the party.
Any application not in compliance with this paragraph will be denied. Failure to comply with
the terms of this Order may also result in sanctions.

       5. The Court has considered plaintiffs recent letter (Docket# 52) and defendants'
response (Docket# 53). The personal attack on plaintiffs counsel contained in the third
     Case 1:19-cv-03429-LGS-GWG Document 55 Filed 02/05/20 Page 2 of 2



paragraph of defendants' letter is highly improper and had precisely the opposite effect on the
Court than was apparently intended by Mr. Restituyo. It is suggested that Mr. Restituyo consider
apologizing to plaintiffs counsel. As to the merits of the dispute raised in Docket# 52, the
Court directs the plaintiff to comply with paragraph 2.A of the undersigned's Individual
Practices. Counsel shall discuss each issue at length in an attempt to reach a resolution. If any
dispute remains, it may be presented by means of a letter compliant with that paragraph.

       SO ORDERED.

Dated: February 5, 2020
       New York, New York




                                                2
